       Case 21-12136-MAM   Doc 58   Filed 06/04/24   Page 1 of 5

ANGEL M PEREZ
                                 Case 21-12136-MAM                         Doc 58         Filed 06/04/24        Page 2 of 5


Debtor 1          ANGEL M PEREZ                                                                  Case number (llkoown)_2_ 1_-_12_1_3_6
                                                                                                                                     __________




■,,,
                 FlrstName        MlddleNa-ne              Last Name




                 Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     D I am the creditor.
     0 I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.




  X /s/ Anna Brown                                                                               Date 06/04/2024
     Signature




 Print:            Anna J. Brown                                                                 Tille   Bankruptcy Specialist
                    First Name                       Middle Name         Last Ntvne



 Company           Truist Bank


 Address           Bankruptcy Dept, PO Box 85092, 306-40-06-10
                    Number                  Street

                   Richmond                                              VA           23286
                    City                                                 State        ZIP Code


 Contact phone (800) 635-3112                                                                    Email DefaultBankruptcyManagement@Truist.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                                page2
               Case 21-12136-MAM           Doc 58   Filed 06/04/24   Page 3 of 5




 Anna J. Brown


           Notice of Mortgage Payment Change

                                   06/04/2024




ANGEL MANUEL PEREZ                                              JOSE A BLANCO
274 ARABIAN RD                                                  102 E 49TH ST
PALM SPRINGS, FL 33461-2162                                     HIALEAH, FL 33013-1853




ROBIN R WEINER
PO BOX 559007
FORT LAUDERDALE, FL 33355-9007




/s/ Anna Brown
Bankruptcy Specialist for Truist Bank
                                              Case 21-12136-MAM                                    Doc 58               Filed 06/04/24                       Page 4 of 5
                                                                Home Equity Line of Credit


                                                                                                                                                                                       Loan Questions?
                      ANGEL M PEREZ
                                                                                                                                                                                       Call 1-844-487-8478
                      DO NOT M A I L - BANKRUPT
                      ************************************
                      ************************************
                      ************************************
                                                                                                                                                                                                          Page 1 of 1

Account Status                                                  Revolving Option Total Outstanding Amount
 Statement Date                                                                         05/31/24 New Balance                                                                                               $44,646.83
 Line Account Number                                                                             Minimum Payment Due                                                                                          $647.36
 Due Date                                                                               06/25/24 Payment Due Date                                                                                            06/25/24
 Current Amount Due                                                                      $647.36
 Past Due Date
 Past Due Amount                                                                           $0.00
 Fees/Charges                                                                              $0.00
 Minimum Amount Due                                                                      $647.36
 Account Summary
 Credit Limit                                                                        $50,000.00
 Credit Available                                                                         $0.00
 Previous Account Balance                                                            $44,777.12
 Total Payments                            ( )                                         $655.00
 Total Advances                            (+)                                            $0.00
 Total Finance Charges                     (+)                                         $524.71
 Total Adjustments                         (+)                                            $0.00
 New Account Balance                       (=)                                       $44,646.83        Loans are subject to credit approval. Equal Housing Lender.                                   Member FDIC
    Annual Percentage Rate                          Daily Periodic Rate                       Average Daily Balance               Billing Cycle Days                                            Finance Charge
           14.00%                                       0 038251%                                  $44,249.17                              31                                                       $524.71
 Transaction History
Date                         Description                                                                                                                                    Amount                         Balance
05/01/24                    BEGINNING PRINCIPAL BALANCE                                                                                                                        $0.00                       $44,268.00
05/28/24                    PRINCIPAL PAYMENT                                                                                                                                $145.88                       $44,122.12
05/28/24                    INTEREST PAYMENT                                                                                                                                 $509.12                       $44,122.12
05/31/24                    TIER 1 CURRENT PER RATE .038251% CORR APR 14.00%
05/31/24                    ENDING PRINCIPAL BALANCE                                                                                                                              $0.00                     $44,122.12




  Detach here and mail with your payment in the enclosed envelope. Make check payable to Truist. Be sure to include your loan account number on the check.. Allow 7 days for postal delivery.




                                                                                                                                      ANGEL M PEREZ
                  o      *Check here if you prefer to have your payment drafted.
                         *Please provide details on back.                                                                             Account Number:
                                                                                                                                      Payment Due Date: 06/25/24
                  Payment Form                                                                                                        Amount Due: $647.36
                                                                                                                                      Amount Enclosed                         $                       .
                       TRUIST ITEM PROCESSING CENTER
                       PO BOX 580048
                       CHARLOTTE NC 28258-0048
 Helpful Information Case 21-12136-MAM Doc 58 Filed 06/04/24 Page 5 of 5
 Your ANNUAL PERCENTAGE RATE on page one is based on the index rate plus the margin as set forth in your loan documents. The rate will be effective when the new
 statement cycle begins that month. The daily periodic rate disclosed on page one may vary from statement to statement due to changes in your annual percentage rate.

 The TOTAL FINANCE CHARGE on page one is computed by multiplying the "average daily balance" by the daily periodic rate. Multiply this figure by the number of days in
 the billing cycle to calculate the finance charge for the billing cycle. To determine the "average daily balance" for your account, we take the beginning balance of your account
 each day and add any new advances and subtract any payments or credits. This gives us the daily balance. Then we add up all the daily balances for the billing cycle and divide
 the total by the number of days in the billing cycle. This gives us the "average daily balance".

 Your NEW ACCOUNT BALANCE on page one does not include the repayment of closing costs paid on your behalf, if applicable, nor any other fees that may result upon
 closing this account.

 Payments made in the branch or mailed to the address on this statement will be credited to your account on the date of receipt. Only checks or money orders should be
 sent by mail and accompanied by the account number or payment coupon. If the payment is $5,000 or greater the availability of funds on the line of credit will not be made
 available until three business days from the receipt of payment.

 When you provide a check as payment, you authorize us to use information from your check to make a one-time electronic fund transfer from your account. In certain
 circumstances, such as for technical or processing reasons, we may process your payment as a check transaction and funds may be processed from your account the same
 day.
              Under the Fair and Accurate Credit Transactions Act, you are eligible for a free copy of your credit report each year. Contact:
                     Annual Credit Report Request Service P.O. Box 105281 Atlanta, GA 30348-5281 www.annualcreditreport.com 1-877-322-8228
                    If you notice inaccuracies on your credit report, please write to us at Truist Loan Services, Credit Bureau Disputes, PO Box 849, Wilson, NC 27894.


 Convenient Ways To Reach Us
    . Visit us online at Truist.com.                                   For information about your line 24 hours a day, call 844-4TRUIST (844-487-8478).
                                                                       Simply follow the prompts and utilize the automated system to access your
    . Stop by your local Truist branch.
                                                                       account, make a payment, or take an advance.
    . If you have questions about your loan
        statement, write to us at:                                     · Enter your Social Security number or Taxpayer Identification number.
                                                                       · Enter your 14-digit Truist Line Account Number, followed by the pound (#) key.
        Truist Loan Services
        P.O. Box 2306
        Wilson, NC 27894-2306
 Billing Rights Summary                          In case of Errors, Inquiries, or Disputed Items Related to Your Account Statement.
 If you think your line of credit statement is wrong, or if you need more information concerning a transaction or if you dispute an amount owed on your statement, please
 write us on a separate sheet at the following address: Truist Loan Services, P.O. Box 2306,Wilson, NC 27894. We must hear from you no later than 60 days after we sent
 you the first statement on which the error or problem appeared. You can telephone us, but doing so will not preserve your rights.

 In the letter, give us the following information:
  • Name and Account Number
  • The dollar amount of the suspected error
  • A description of the error and why you believe there is an error. If you need more information, please descr be the item you are unsure about.

 You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your statement that are not in question. While we
 inves igate your question, we cannot report you as delinquent or take any action to collect the amount you question.

 The bank will not accept any payment marked "Payment in Full" as to a disputed account and reserves the right to reject all such payments. The envelope and any enclosed
 documents related to a disputed account are to be marked "Attention Disputed Payoff."




Automatic Payment Authorization
Your signature authorizes Truist Bank to automatically debit the checking or savings account listed below for the amount of your loan payment each month. You will be notified by mail
when your authorization has been received. Until that time, you are responsible for continuing to make your regular payments. Your authorization will remain in place until a written notice
is received from you to cancel automatic payments.
Checking or Savings Account Number to Draft                                                                                                       Check One:     o Checking o Savings

Financial Institution to Draft                                                  Financial Institution's Transit Routing Number

Date                                   Signature of Account Holder

                                 Include a blank voided check (for checking accounts) or a voided deposit slip (for savings accounts).

Change of address
If you need to change your address, please visit your local Truist branch or call Truist Client Care at
844-4TRUIST (844-487-8478).
